

People v Helms (2025 NY Slip Op 02373)





People v Helms


2025 NY Slip Op 02373


Decided on April 24, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 24, 2025

CR-23-0905
[*1]The People of the State of New York, Respondent,
vTyron Helms, Appellant.

Calendar Date:March 26, 2025

Before:Clark, J.P., Aarons, Pritzker, Ceresia and Fisher, JJ.

Stephen W. Herrick, Public Defender, Albany (James A. Bartosik Jr. of counsel), for appellant.
Lee C. Kindlon, District Attorney, Albany (Emily Schultz of counsel), for respondent.



Clark, J.P.
Appeal from a judgment of the County Court of Albany County (Andra Ackerman, J.), rendered October 18, 2022, convicting defendant upon his plea of guilty of the crime of attempted assault in the first degree.
Following an incident where defendant stabbed his romantic partner in the face and hand with a knife, defendant was charged in an indictment with two counts of assault in the first degree and one count of criminal possession of a weapon in the second degree. Pursuant to a plea agreement, defendant pleaded guilty to one count of attempted assault in the first degree and waived his right to appeal, with the understanding that he would be sentenced to a prison term of no less than five years and no more than nine years, to be followed by five years of postrelease supervision. County Court thereafter sentenced defendant, as a second felony offender, to a prison term of nine years, to be followed by five years of postrelease supervision. Defendant appeals, arguing that his plea was not knowing, intelligent and voluntary. However, such contention is unpreserved for our review, as the record does not reflect that he made an appropriate postallocution motion, and there is nothing in the record that warrants the application of the narrow exception to the preservation rule (see People v Gibbs, 232 AD3d 937, 939 [3d Dept 2024]; People v Wimberly, 228 AD3d 1177, 1177 [3d Dept 2024], lv denied 42 NY3d 1022 [2024]). To the extent not expressly addressed herein, defendant's remaining contentions have been reviewed and found to lack merit.
Aarons, Pritzker, Ceresia and Fisher, JJ., concur.
ORDERED that the judgment is affirmed.








